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The following constitutes the ruling of the court and has the force and effect therein described.




Signed January 31, 2024
______________________________________________________________________




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE NORTHERN DISTRICT OF TEXAS
                                              DALLAS DIVISION

         In re:                                                       Chapter 11

         HIGHLAND CAPITAL MANAGEMENT, L.P., Case No. 19-34054-sgj

                                      Reorganized Debtor.




                                    ORDER GRANTING IN PART HIGHLAND’S
                                    MOTION TO STAY CONTESTED MATTER

                  Having considered (a) Highland’s Motion to Stay Contested Matter [Dkt No. 4000] or for

     Alternative Relief [Docket No. 4013] (the “Motion”) 1 filed by Highland Capital Management, L.P.

     (“HCMLP”), the reorganized debtor in the above-referenced bankruptcy case, and the Highland

     Claimant Trust (the “Trust” and together with HCMLP, “Highland”); (b) James P. Seery, Jr.’s

     Joinder to Highland Capital Management, L.P.’s Motion to Stay Contested Matter [Dkt No. 4000]

     or for Alternative Relief and Emergency Motion to Expedite Hearing on Motion for Stay [Docket


     1
         Capitalized terms not defined herein shall take on the meanings ascribed to them in the Motion.



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No. 4019] filed by James P. Seery, Jr.; (c) Hunter Mountain Investment Trust’s Response in

Opposition to Highland’s Motion to Stay Contested Matter [Dkt No. 4000] or for Alternative Relief

[Docket No. 4022] filed by Hunter Mountain Investment Trust’s (“HMIT”); (d) the arguments

heard at the hearing on the Motion on January 24, 2024 (the “Hearing”); and (e) all prior

proceedings relating to this matter; and this Court having jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334; and this Court having found that venue of this proceeding and the

Motion in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that Highland’s notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and that no other notice need be provided; and this Court

having determined that the legal and factual bases set forth in the Motion establish good cause for

the relief granted herein; and upon all of the proceedings had before this Court; and for the reasons

set forth by this Court on the record during the Hearing; and after due deliberation and sufficient

cause appearing therefor, it is HEREBY ORDERED THAT:

          1. The Motion is GRANTED IN PART as set forth herein.

          2. All proceedings in connection with the Motion for Leave to File a Delaware Complaint
             [Docket No. 4000] (the “Motion for Leave”) are hereby stayed until the Court (a) issues
             an order determining The Highland Parties’ Motion to Dismiss Complaint to (I)
             Compel Disclosures About the Assets of the Highland Claimant Trust and (II)
             Determine (A) Relative Value of Those Assets, and (B) Nature of Plaintiffs’ Interests in
             the Claimant Trust [Adv. Proc. 23-03038-sgj, Docket No. 13] (the “Motion to
             Dismiss”), and (b) holds a status conference with the parties in connection with the
             Motion for Leave during which the Court will consider whether to terminate or extend
             the stay (and, if the stay is terminated, to establish a briefing schedule for the Motion
             for Leave).

          3. The Court shall retain exclusive jurisdiction with respect to all matters arising from or
             relating to the implementation, interpretation, and enforcement of this Order.


                                         ###End of Order###




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